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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-3170-RMR-NRN

   FALLEN PRODUCTIONS, INC.,

             Plaintiff/Judgment Creditor,

   v.

   DAMIAN BRAY and HECTOR JARAMILO,

             Defendants/Judgment Debtor.

   and

   ISLAND FEDERAL CREDIT UNION,

             Garnishee



                              NOTICE OF TENTATIVE SETTLEMENT


             Pursuant to D.C.COLO.LCivR 40.2(b), Plaintiff/Judgment Creditor Fallen

   Productions,      Inc.   (“Plaintiff”)   hereby   notifies   the   Court   that   Plaintiff   and

   Defendant/Judgment Debtor Hector Jaramilo (“Defendant”) (collectively, “Parties”)

   arrived at a tentative settlement that provides for a stipulation for a turnover order. The

   Plaintiffs respectfully requests that the Court stay an order on Plaintiff’s Verified Traverse

   of Garnishee Answer of Island Federal Credit Union and Motion for Turnover Order [Doc.

   #103] of June 22, 2022 to give the Parties an opportunity to effectuate their tentative

   settlement and submit a stipulation for turnover order to fully resolve all issues between

   them.


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             DATED: Kailua-Kona, Hawaii, July 18, 2022.

             CULPEPPER IP, LLLC

             /s/ Kerry S. Culpepper
             Kerry S. Culpepper
             CULPEPPER IP, LLLC
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             Attorney for Plaintiff Fallen Productions, Inc.




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                                    CERTIFICATE OF SERVICE


             The undersigned hereby certifies that on the date and by the methods of service

   noted below, a true and correct copy of the foregoing was served via FIRST CLASS

   MAIL to the following at their last known address:

   Attn: Teresa McHugh
   Island Federal Credit Union,
   120 Motor Parkway
   Hauppauge, NY 11788

   Hector Jaramilo
   20 Normandy Drive
   Holbrook, NY 11741

             DATED: Kailua-Kona, Hawaii, July 18, 2022.

             CULPEPPER IP, LLLC

             /s/ Kerry S. Culpepper
             Kerry S. Culpepper
             CULPEPPER IP, LLLC
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             Attorney for Plaintiff Fallen Productions, Inc




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